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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
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     UNITED STATES OF AMERICA,                                NO. 2:14-MC-00068-RSL
11
                               Plaintiff,                           (CR14-0020-1)
12
             vs.                                              Order Terminating
13                                                            Garnishment Proceeding
     WILLIAM BEARD,
14
              Defendant/Judgment Debtor,
15
           and
16
     FIDELITY INVESTMENTS,
17
                               Garnishee.
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19          This matter came before the Court on the United States’ Application to
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     Terminate Garnishment Proceeding. For the reasons stated in the United
21
     States’ Application, the Court concludes that this Garnishment should be
22
     terminated, pursuant to 28 U.S.C. § 3205(c)(10)(A).
23
24          IT IS ORDERED that the garnishment is terminated and that Fidelity

25   Investments, is relieved of further responsibility pursuant to this
26
     garnishment.
27
     //
28


     ORDER TERMINATING GARNISHMENT PROCEEDING                                  UNITED STATES ATTORNEY’S OFFICE
                                                                                700 STEWART STREET, SUITE 5220
     (USA v. William Beard and Fidelity Investments, USDC#: 2:14-MC-00068-             SEATTLE, WA 98101
     RSL/CR14-0020-1)-1                                                                PHONE: 206-553-7970
            Case 2:14-mc-00068-RSL Document 10 Filed 10/18/21 Page 2 of 2



 1          DATED this 18th day of October, 2021.
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 3
 4                                     JUDGE ROBERT S. LASNIK
                                       UNITED STATES DISTRICT COURT JUDGE
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 6
     Presented by:
 7
     s/ Kyle A. Forsyth
 8   KYLE A. FORSYTH, WSBA # 34609
     Assistant United States Attorney
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     ORDER TERMINATING GARNISHMENT PROCEEDING                                UNITED STATES ATTORNEY’S OFFICE
                                                                              700 STEWART STREET, SUITE 5220
     (USA v. William Beard and Fidelity Investments, USDC#: 2:14-MC-00068-           SEATTLE, WA 98101
     RSL/CR14-0020-1)-2                                                              PHONE: 206-553-7970
